           Case 2:23-bk-51774                   Doc 27       Filed 06/12/23 Entered 06/13/23 11:28:39 Desc Main
  Fill in this information to identify your case:            Document     Page 1 of 3 Check one box only as directed in this form and in
                                                                                                      Form 122A-1Supp:
 Debtor 1         ANGEL RENEE PETERSON
                     First Name              Middle Name              Last Name
                                                                                                      □ 1. There is no presumption of abuse.
 Debtor2
 (Spouse, if filing) First Name              Middle Name              Last Name                       D 2. The calculation to determine if a presumption of
                                                                                                             abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: _SOUTHERN._ _ _ District of_OH_[EJ                                  Means Test Calculation (Official Form 122A-2).

 Case number
  (lfknown)
                    =2=3--5~1~7~7~4~-----------                                                       D 3. The Means Test does not apply now because of
                                                                                                             qualified military service but it could apply later.



                                                                                                      D Check if this is an amended filing

Official Form 122A-1
Ch~pter 7 Statement of Your Current Monthly Income
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

  •~ • .., ... Calculate Your Current Monthly Income
                                                                                                                                 .fi~



   ,. r:u::~;:~~::~~~~:~":,~:;b~Col,ma,AaadB,l;a~2-11t~~ : •p.
        D Married and your spouse is NOT filing with you. You and your spouse are:                          \l"i;, t,c:;,~, -o                            \1"\
                                                                                                                                                                    I



                                                                                                           ~ , : «@         3
          D Living in the same household and are not legally separated. Fill out both Columns A and B, line~<}{;~
                                                                                                                                 ;~~t-;_ -'1~ (J)   ---
                                                                                                                                                          CJ
              □ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By chec~t~gthis bo~ou declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applie54lr that YOtt<i!fld your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(6)(7)(8).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A              ColumnB
                                                                                                        Debtor 1              Debtor2 or
                                                                                                                              non-filing spouse

   2. Your gross wages, salary, tips, bonuses, overtime, and commissions                                 $_ _ __                $_ _ _ __
        (before all payroll deductions).
   3. Alimony and maintenance payments. Do not include payments from a spouse if                         $._ _ __               $_ _ __
      Column B is filled in.
   4. All amounts from any source which are regularly paid for household expenses
        of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents, parents,
        and roommates. Include regular contributions from a spouse only if Column B is not               $._ _ __               $_ _ _ __
        filled in. Do not include payments you listed on line 3.
   5. Net income from operating a business, profession,
                                                                      Debtor1      Debtor2
      or farm
      Gross receipts (before all deductions)                            $000.00     $_ _

        Ordinary and necessary operating expenses                    -$_ _ -$_ _
                                                                                               Copy
        Net monthly income from a business, profession, or farm         $000.00     $_ _ here~           $   5,000.00           $_ _ _ __

   6. Net income from rental and other real property                  Debtor1      Debtor2
      Gross receipts (before all deductions)                           $_ _         $_ _

        Ordinary and necessary operating expenses                    -$_ _ -$_ _
                                                                                               Copy                             $_ _ __
        Net monthly income from rental or other real property           $_ _        $_ _ here~           $
                                                                                                                                $_ _ __
   7. Interest, dividends, and royalties                                                                 $



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                        page 1
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Debtor 1          ANGEL RENEE PETERSON                                                                                       Case number (If known>~2_3_-_5_1_7_7_4
                                                                                                                                                                 ___________
                   Fir.rt Name             Middle Name                     Last Name



                                                                                                                                  Column A                    Co/umnB
                                                                                                                                  Debtor1                     Debtor2 or
                                                                                                                                                              non-filing spouse
   8. Unemployment compensation                                                                                                     $._ _ __                      $_ _ _ __
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ -I,
            For you..................................................................................    $_ _ _ _ __
            For your spouse ..................................................................           $
                                                                                                         ------
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled if
                                                                                                                                    $_ _ __                      $_ _ __
     retired under any provision of title 10 other than chapter 61 of that title.
   10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.
                                                                                                                                    $._ _ __                     $_ _ _ __
                                                                                                                                    $_ _ __                      $_ _ __

           Total amounts from separate pages, if any.                                                                            +$_ _ __                     +$_ _ _ __

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                           $     5,000.0~ +          IL. . : $===;_JI= $ 5,000.0 ·
                                                                                                                                                                                             Total current
                                                                                                                                                                                             monthly income :

                    Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11 ...................................................................................... Copy line 11 here+      L_$:::::::::::::::::::::::::..j,..J

                  Multiply by 12 (the number of months in a year).                                                                                                                         X 12                      :
       12b.       The result is your annual income for this part of the form.                                                                                                 12b.         $ 60,000.00:

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                             loH10
       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household ..................................................................................................13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


       14a.   0       Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2




       14b. D Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
              Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                        page2
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Debtor 1       ANGEL RENEE PETERSON                                                             Case number (ifknown),...;:2::..3::...-....:5:....1:....7_7_4
                                                                                                                                                           _ _ _ _ _ _ _ _ __
               Flra!Name      Middle Name         Last Name



  ■:..-,,.--     Sign Below

               : ~ ~ e r j u , y that the 1monnatioa oo~• statemem aad 1, .,.,, _,hments •true""" oooeot


                    Signature of Debtor 1                                                       Signature of Debtor 2


                    Date 06/07/2023                                                             Date -~~~~--
                         MM/ DD /YYYY                                                                MM/ DD /YYYY


                    If you checked line 14a, do NOT fill out or file Form 122A-2.
                    If you checked line 14b, fill out Form 122A-2 and file it with this form.




                                               Chapter 7 Statement of Your Current Monthly Income                                                                  page 3
 Official Form 122A-1
